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IN THE UNITED s'rATEs DIsTRIc'r coURT FHED B"' -~ ...__ D.C.

FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA

 

Plaintiff,
VS CR. NO. 04-20452-Ml

Darell Lester

~_,-./-_¢-.¢-..r\_,¢\_¢~_,~_/

Defendant.

 

ORDER ON JURY VERDICT

 

This cause came on for trial on August 9, 2005, the United States Attorney
for this District, Greg Gilluly, representing the Government, and the defendant,
Darell Lester, appearing in person and with counsel, Bruce Griffey.

Jurors were selected.and swornd After listening to opening statements, all
of the proof, closing arguments and jury charge, the jurors were excused to begin
deliberation.

After due deliberation, the jury returned in open court on August 11, 2005,
and announced a verdict of GUILTY as to Count l of the Indictment.

Jurors were polled individually.

The SENTENCING HEARING is SET On MONDAY, NOVEMBER 7, 2005 at 9:00 A.M. in
Courtroom Number 4, 9th Floor, before Judge Jon Phipps McCalla.

Defendant was remanded to the custody of the United States Marshal.

ENTERED this the H¢ day of August, 2005.

  
  
 

 

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20452 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

